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sg cor se 2:05-mc-70840-GER EQ benrg1 98? 5 op paaeoe 122 Filed 06/09/05 Page 1 of 4

 

$9.00 DEED F.£. Voungbleod, Wayne Co. Register of Deeds
$4.00. RENONUMENTAT 10H ‘ RDJOHCEL
Receirt #15032 t
. RECORDED
FOREST £, YDUXGOLOQ0, REGISTER OF DEEDS
WAYNE COUNTY, AI
QUIT CLAIM DEED - 865 (he raion Management, inc. (517) 337-1211 (State Bar of Michigan Form
o
The Grantor(s) Jerry Ellen Stehlik AMM Refund and adj.
_ 442 Biltmore A. O. #8577
whose address is Dearborn Heights, MI. 48127 Sale # 36014

quit-claim(s}t0 = SOBHIE SAID SALEM (ASM)
4637 PALMER AVENUE
the following described premises situated in the City

and State of Michigan:
of DETROIT » County of Wane

City of DETROIT, CAP 701, WARD 22, ITEM 80801.001
Assassors Plat Of Taubitz Farm L67 P90

LOT: N36.%0’65 W GREENVIEW

THE MEANING AND INTENT OF THIS INSTRUMENT IS TO CONVEY ALL
RIGHTS, TITLE AND INTEREST AND ONLY SUCH RIGHTS, TITLE AND
INTEREST AS WAS ASSIGNED BY THE GRANTOR WITH THE PURCHASE

dE THE UNPAID 1995 TAX ON THE 1998 SALE, CERTIFICATE #56014

forthesumof “MSA 7.456 (5) (1)"

Dated this “18th dayof APRIL _ 88-00
Signed in the Presence of . Signed by:

rreag ppm “ Jerey mn Stehlik
: 4 LAW .

me Denise Hale Norris

 

 

EXEMPT UNDER
“ MSA 7.456 (5) (

526 (6) ()
STATE OF MICHIGAN, . MCL 207.526 ( IN

2

COUNTY OF Wayne

”

‘The foregoing instrument was acknowledged before me this isth day of _APRIL -

 

 

 

 

 

 

 

 

 

 

 

 

2900 by Jerry Ellen Stehlik t
Vin, Hota Vow
=
Denise Hale Norris a
Notary Public, Wayne County, Michigan
My 124/00
—PWhen Recorded Return To: Sead Subsequent Tax Bills To: Drafted By:
fN Grantee Grantee Jerry Ellen Stehlik
fame) . Business Address:
Ys Ss. Salam 442 Biltmore
(Street A } Dbn Hts., MI 48127
Go 6Ox Oi 4
(City tate ayloc ONL (BO
Tax Parcel # Recording Fee Transfer Tax.

 

 

 

 

 

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lawyers Tile: Insursecs-Gxporetion 0.2 R168 RF. No. 22 STABLY See os/o9nis Page 2 of 4

KNOW ALL MEN BY THESE PRESENTS: That HUSA A. JEBRIL and SUBHIEH JEBRIL, hie wife

126056:.666

    
 
 

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whose etd ta 4957 Rosalie Avenue, Dearborn, Michigan

Qult Clinis} to SOBHIE SAID SALEM, s single women

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whee aditns 9 «4637 Palmer Avenve, Dearborn, HI dR av .

the following described promises sliusted ln the City ef Detroit
and State of Michigan, to-wits

Covaty of Wayne

9889T¢ 26

North 36.5 feet of Lot 65 “ASSESSOR'S PLAT OF TAUBITZ FARM
SUBDIVISION" as recorded in Liber 67, Page 90 of Plats,
Wayne County Records.

Commonly known as: 5745 Greenview
Ward 22 ~ Item No. 30801-00!

WAGISS Ta2ee VERO Zz <I O |

Exempt: Sec 207.505a, P.A. 327 of 1968

 

    
    
 

     

     

 

 

 

 

 

 

 

 

 

 

 

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‘ . . '
: ah Feheten KL hah. fh Lid (LA)
Linda J. McLaughTin “ Subhieh Jebril
(Zool, }
STATE OF MICHIGAN |.
counry or "Mayne . 8.)
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ty Musa A. Jebril and Subhieh Jebril, bis wife p
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uy snviere 9/13/93 Kennevn W. Lieber
Netary Publle__——~ HET ___ County, Michigan
lonrument Kenneth W. Lieber, Atty-at-|.ay ___ soars — 18208. Ecorse Bd, Allan 2sekey—Hi48101
Recording Fee. When recorded retare we Geavtes
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Recsipt 9 2:0 aftiC 70840-GE -_ Li-38045
* CASE: ROR aA C- <GER ECE No. 22- S gyapi203
ven rosa SCT 25 Pog Mae oor
WAYNE TY, HI Woune Co. Register of Deeds
$4.00 RERONUMENTAT ED®
49.00 COPY 640

LF298-04

QUITCLAIM DEED
{THIS QUITCLAIM DEED, executed this 21st day of January 2003 .

by first party, Grantor, SOBHIE SAID SALEM, 4 single woman
whose post office address is 4957. Rosalie pearborn MI: 48126
to second party, Grantee, TRINA VENSON, a single woman

whose post office address is_ 13961 Roselawn Detroit MI 48238

WITNESSETH, That the said first party, for good consideration and for the sum of

ONE Dollars ($ 1.00 )
paid by the said second party, the receipt whereof is hereby acknowledged, does hereby remise, release
and quitclaim unto the said second party forever, all the right, tide, interest and claim which the said first
party has in and to the following described parcel of land, and improvements and appurtenances thereto in
the Countyof Wayne / ,Stateof MICHIGAN to wit:

North 36.5 Feet of lot 65 "ASSESSOR'S plat of Taubitz Farm
Subdivision" as recorded in Liber 67, Page 90 of Plats,
Wayne County Records.

Commonly Known as: 5745 Greenview
Ward 22-Iten No. B0801-001

at
i} EXEMPT UNDER
* MSA 7.456 (5) (QL)
MCL 207.526 (8) (QU)

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advice. State laws vary. 1 i 4

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,
Case 2:05-mc-70840-GER ECF No. 22-5, PagelD.12320%8ed 06/Ga/@5 Page 4 of 4
IN WITNESS WHEREOF, The said first party has signed and scaled these presents the day and year

first above written. Signed, sealed and delivered in presence of:--, | . QO -. 9
LA ts- ed Vine. u/ 2b tif

  
  

 

 

 

 

 

 

 

   

 

 

Signature of Witness . re of First Party oo
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Signature of Witness Signature of First Party
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Print name of Witness Print name'of First Party
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County of 1/ AYM }
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appeared SOBM/E SAID :
personally knowi to me (or proved to me on the basis of satisfactory, evidence) to be the person(s) whose
name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/they executed the
same in his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument the
person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.
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personally wn to me (or proved to me on the basis of satisfactory evidence) to be the person(s) whose
name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/they executed the
same in his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument the
person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

WITNESS my hand and official seal.

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* Signature of Preparer

 
  

KIMBERLY BROOKS

  

* Beer _—

 
 

nana connie Print Name of Preparer, :
My Commission Expires Jan 18, 2006 : 2 LZ LS EZ CEOS LS

 

   

Address of Preparer

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